               Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 1 of 29




 1

 2

 3

 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE
10
      AMAZON.COM, INC., a Delaware
11    corporation; and NITE IZE, INC., a Colorado            No.
      corporation,
12                                                           COMPLAINT FOR DAMAGES
                                Plaintiffs,                  AND EQUITABLE RELIEF
13
              v.
14
      CHUN WONG, an individual; ADAM JONES,
15    an individual; JACKY LIKENS, an individual;
      SHENZHEN HAIMING LIMITED, an
16    unknown entity; HU NAN YUN DONG
      LIMITED, an unknown entity; JAMES LEE, an
17    individual; STEVE MAX, an individual; ZACK
      GREY, an individual; JEFFREY HALL, an
18    individual; DEREK WILSON, an individual;
      JACOB SMITH, an individual; and JOHN
19    DOES 1–10,
20                              Defendants.
21

22                                       I.     INTRODUCTION
23            1.     Nite Ize, Inc. (“Nite Ize”) began in 1989 in a small Colorado cabin when the
24    CEO and Founder Rick Case invented the company’s first product: the Nite Ize Headband™
25    Mini Flashlight Holder.
26            2.     In the last thirty years, Nite Ize has grown from a single product to a company
27    that makes, sells, and distributes over 500 innovative accessories, tools, and devices. Nite Ize

     COMPLAINT - 1                                                               Davis Wright Tremaine LLP
                                                                                    920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                               Seattle, WA 98104-1640
                                                                               206.622.3150 main · 206.757.7700 fax
               Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 2 of 29




 1    offers products that are designed with creative innovation and manufactured with top-of-the-

 2    line materials for optimum durability.

 3            3.       Nite Ize prides itself in being fun and functional, trusted and innovative, and

 4    obsessively dedicated to making products that are not only guaranteed for life, but guaranteed

 5    to improve its customers’ lives. Nite Ize believes its success is rooted in integrity and in

 6    keeping its promises to its customers. For that reason, it offers its customers a “Worry Free

 7    Guarantee”—if a customer is not satisfied with their purchase, Nite Ize will provide a free

 8    repair, replacement, or exchange.

 9            4.       In 2014, Nite Ize introduced the STEELIE® ecosystem—a family of products

10    that make mounting and viewing mobile devices just about anywhere a snap. Featuring a

11    patented, award-winning, magnetic mounting design, this two-part ball and socket system

12    creates a hands-free viewing platform for endless adjustable viewing angles in the car, at home,

13    and on the go.

14                                                     ***

15            5.       Since opening its virtual doors on the World Wide Web in July 1995,

16    Amazon.com, Inc. (“Amazon”) has worked hard to build and maintain customer trust, striving

17    to be Earth’s most customer-centric company. Each day, millions of consumers use Amazon’s

18    store to purchase a wide range of products across dozens of product categories from Amazon

19    and third-party sellers. Amazon invests significant resources and effort into building and

20    preserving its customers’ trust. As described in more detail below, in order to protect

21    consumers and preserve the integrity of the Amazon store, Amazon has robust policies and

22    highly developed fraud detection systems to prevent any third-party seller from selling

23    counterfeit products in Amazon’s store. When Amazon discovers that a third-party seller is

24    violating Amazon’s anti-counterfeiting policies, it takes immediate action to remove the seller

25    from the store and, in appropriate cases, to permanently enjoin the seller from future sales

26    through court orders. Based on Defendants’ repeated and persistent violations of law, this is

27    one such case.

     COMPLAINT - 2                                                                 Davis Wright Tremaine LLP
                                                                                      920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                 Seattle, WA 98104-1640
                                                                                 206.622.3150 main · 206.757.7700 fax
               Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 3 of 29




 1            6.     Defendants operated a number of seller accounts on Amazon’s online store

 2    through which they unlawfully advertised and sold products bearing counterfeit trademarks of

 3    Nite Ize. As a result of their illegal actions, Defendants willfully deceived Amazon and its

 4    customers, infringed and misused Nite Ize’s intellectual property (“IP”), harmed the integrity of

 5    Amazon’s store, tarnished Amazon’s and Nite Ize’s brands, and damaged Amazon’s and Nite

 6    Ize’s customers. Amazon and Nite Ize have filed this lawsuit to prevent further and continued

 7    harm to their customers and themselves.

 8            7.     Defendants’ illegal actions as described below breached numerous provisions of

 9    Amazon’s Business Solutions Agreement (“BSA”), which entitles Amazon to injunctive relief

10    to stop Defendants from infringing and misusing Nite Ize’s IP and to prevent them from selling

11    products through Amazon. Defendants’ actions also infringed Nite Ize’s trademarks, entitling

12    Nite Ize to recover its actual and statutory damages, the disgorgement of Defendants’ profits,

13    and its attorneys’ fees and costs. Further, Defendants’ actions constitute unfair competition

14    under the Lanham Act, 15 U.S.C. § 1125, for which Amazon and Nite Ize seek various forms

15    of damages and equitable relief.

16                                           II.     PARTIES
17            8.     Amazon is a Delaware corporation with its principal place of business in Seattle,

18    Washington. Through its subsidiaries, Amazon owns and operates the Amazon.com website,

19    equivalent international websites, and Amazon stores. Amazon has more than 250 million

20    active customers.

21            9.     Nite Ize is a Colorado corporation with its principal place of business in

22    Boulder, Colorado. Nite Ize is the manufacturer of STEELIE® car mount kits and related

23    accessories. Nite Ize holds a number of duly registered trademarks, utility and design patents,

24    and trade dress rights that it has developed and marketed in the United States.

25            10.    On information and belief, Defendant Chun Wong is either an individual who

26    resides in Ontario, Canada or is an “a/k/a” or alter ego for one or more of the other Defendants

27    identified in this Complaint. On further information and belief, Wong personally participated

     COMPLAINT - 3                                                               Davis Wright Tremaine LLP
                                                                                    920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                               Seattle, WA 98104-1640
                                                                               206.622.3150 main · 206.757.7700 fax
               Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 4 of 29




 1    in and/or had the right and ability to supervise, direct, and control the wrongful conduct alleged

 2    in this Complaint. On further information and belief, Wong conspired, operated in concert

 3    with, and took affirmative acts with and on behalf of the other Defendants to engage in the

 4    wrongful conduct identified in this Complaint, and derived a direct financial benefit as a result

 5    of that wrongful conduct.

 6            11.    On information and belief, Defendant Adam Jones is either an individual who

 7    resides in Ontario, Canada or is an “a/k/a” or alter ego for one or more of the other Defendants

 8    identified in this Complaint. On further information and belief, Jones personally participated in

 9    and/or had the right and ability to supervise, direct, and control the wrongful conduct alleged in

10    this Complaint. On further information and belief, Jones conspired, operated in concert with,

11    and took affirmative acts with and on behalf of the other Defendants to engage in the wrongful

12    conduct identified in this Complaint, and derived a direct financial benefit as a result of that

13    wrongful conduct.

14            12.    On information and belief, Defendant Jacky Likens is either an individual who

15    resides in Ontario, Canada or is an “a/k/a” or alter ego for one or more of the other Defendants

16    identified in this Complaint. On further information and belief, Likens personally participated

17    in and/or had the right and ability to supervise, direct, and control the wrongful conduct alleged

18    in this Complaint. On further information and belief, Likens conspired, operated in concert

19    with, and took affirmative acts with and on behalf of the other Defendants to engage in the

20    wrongful conduct identified in this Complaint, and derived a direct financial benefit as a result

21    of that wrongful conduct.

22            13.    On information and belief, Shenzhen Haiming Limited (“Shenzhen”) is an entity

23    of unknown type and classification, or is an “a/k/a” or alter ego for one or more of the other

24    Defendants identified in this Complaint. On further information and belief, Shenzhen

25    personally participated in and/or had the right and ability to supervise, direct, and control the

26    wrongful conduct alleged in this Complaint. On further information and belief, Shenzhen

27    conspired, operated in concert with, and took affirmative acts with and on behalf of the other

     COMPLAINT - 4                                                                Davis Wright Tremaine LLP
                                                                                     920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                Seattle, WA 98104-1640
                                                                                206.622.3150 main · 206.757.7700 fax
               Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 5 of 29




 1    Defendants to engage in the wrongful conduct identified in this Complaint, and derived a direct

 2    financial benefit as a result of that wrongful conduct.

 3            14.    On information and belief, Defendant Hu Nan Yun Dong Limited (“Hu Nan”) is

 4    an entity of unknown type and classification, or is an “a/k/a” or alter ego for one or more of the

 5    other Defendants identified in this Complaint. On further information and belief, Hu Nan

 6    personally participated in and/or had the right and ability to supervise, direct, and control the

 7    wrongful conduct alleged in this Complaint. On further information and belief, Hu Nan

 8    conspired, operated in concert with, and took affirmative acts with and on behalf of the other

 9    Defendants to engage in the wrongful conduct identified in this Complaint, and derived a direct

10    financial benefit as a result of that wrongful conduct.

11            15.    On information and belief, Defendant James Lee is either an individual who

12    resides in Minnetonka, Minnesota or is an “a/k/a” or alter ego for one or more of the other

13    Defendants identified in this Complaint. On further information and belief, Lee personally

14    participated in and/or had the right and ability to supervise, direct, and control the wrongful

15    conduct alleged in this Complaint. On further information and belief, Lee conspired, operated

16    in concert with, and took affirmative acts with and on behalf of the other Defendants to engage

17    in the wrongful conduct identified in this Complaint, and derived a direct financial benefit as a

18    result of that wrongful conduct.

19            16.    On information and belief, Defendant Steve Max is either an individual who

20    resides in Frederick, Maryland or is an “a/k/a” or alter ego for one or more of the other

21    Defendants identified in this Complaint. On further information and belief, Max personally

22    participated in and/or had the right and ability to supervise, direct, and control the wrongful

23    conduct alleged in this Complaint. On further information and belief, Max conspired, operated

24    in concert with, and took affirmative acts with and on behalf of the other Defendants to engage

25    in the wrongful conduct identified in this Complaint, and derived a direct financial benefit as a

26    result of that wrongful conduct.

27

     COMPLAINT - 5                                                                Davis Wright Tremaine LLP
                                                                                     920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                Seattle, WA 98104-1640
                                                                                206.622.3150 main · 206.757.7700 fax
               Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 6 of 29




 1            17.    On information and belief, Defendant Zack Grey is either an individual who

 2    resides in Ontario, Canada, or is an “a/k/a” or alter ego for one or more of the other Defendants

 3    identified in this Complaint. On further information and belief, Grey personally participated in

 4    and/or had the right and ability to supervise, direct, and control the wrongful conduct alleged in

 5    this Complaint. On further information and belief, Grey conspired, operated in concert with,

 6    and took affirmative acts with and on behalf of the other Defendants to engage in the wrongful

 7    conduct identified in this Complaint, and derived a direct financial benefit as a result of that

 8    wrongful conduct.

 9            18.    On information and belief, Defendant Jeffrey Hall is either an individual who

10    resides in Ontario, Canada, or is an “a/k/a” or alter ego for one or more of the other Defendants

11    identified in this Complaint. On further information and belief, Hall personally participated in

12    and/or had the right and ability to supervise, direct, and control the wrongful conduct alleged in

13    this Complaint. On further information and belief, Hall conspired, operated in concert with,

14    and took affirmative acts with and on behalf of the other Defendants to engage in the wrongful

15    conduct identified in this Complaint, and derived a direct financial benefit as a result of that

16    wrongful conduct.

17            19.    On information and belief, Defendant Derek Wilson is either an individual who

18    resides in Ontario, Canada, or is an “a/k/a” or alter ego for one or more of the other Defendants

19    identified in this Complaint. On further information and belief, Wilson personally participated

20    in and/or had the right and ability to supervise, direct, and control the wrongful conduct alleged

21    in this Complaint. On further information and belief, Wilson conspired, operated in concert

22    with, and took affirmative acts with and on behalf of the other Defendants to engage in the

23    wrongful conduct identified in this Complaint, and derived a direct financial benefit as a result

24    of that wrongful conduct.

25            20.    On information and belief, Defendant Jacob Smith is either an individual who

26    resides in Ontario, Canada, or is an “a/k/a” or alter ego for one or more of the other Defendants

27    identified in this Complaint. On further information and belief, Smith personally participated

     COMPLAINT - 6                                                                Davis Wright Tremaine LLP
                                                                                     920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                Seattle, WA 98104-1640
                                                                                206.622.3150 main · 206.757.7700 fax
               Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 7 of 29




 1    in and/or had the right and ability to supervise, direct, and control the wrongful conduct alleged

 2    in this Complaint. On further information and belief, Smith conspired, operated in concert

 3    with, and took affirmative acts with and on behalf of the other Defendants to engage in the

 4    wrongful conduct identified in this Complaint, and derived a direct financial benefit as a result

 5    of that wrongful conduct.

 6            21.    On information and belief, Defendants John Does 1-10 (the “Doe Defendants”)

 7    are individuals and entities working in active concert to knowingly and willfully manufacture,

 8    import, distribute, offer for sale, and sell counterfeit Nite Ize products.

 9                                 III.    JURISDICTION AND VENUE
10            22.    The Court has subject matter jurisdiction over Nite Ize’s claims for trademark

11    infringement (15 U.S.C. § 1114) and unfair competition (15 U.S.C. § 1125(a)) pursuant to 15

12    U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a). The Court has subject matter jurisdiction

13    over Amazon’s breach of contract claim and Plaintiffs’ civil conspiracy claim pursuant to 28

14    U.S.C. § 1332 and § 1367.

15            23.    The Court has personal jurisdiction over all Defendants because they transacted

16    business and committed tortious acts within and directed to the State of Washington, and

17    Amazon’s and Nite Ize’s claims arise from those activities. Defendants reached out to do

18    business with Washington residents by operating commercial, interactive internet storefronts

19    through which Washington residents could purchase products bearing counterfeit versions of

20    Nite Ize’s trademarks and which otherwise infringed Nite Ize’s IP. Defendants targeted sales to

21    Washington residents by operating these internet storefronts that (i) offer shipping to the United

22    States, including Washington; and (ii) sold counterfeit products to residents of Washington.

23    Each of the Defendants is committing tortious acts in Washington and has wrongfully caused

24    Amazon and Nite Ize substantial injury in Washington.

25            24.    Further, Defendants entered into BSA with Amazon for their seller accounts,

26    stipulating that the “Governing Court” for claims to enjoin infringement of IP is state or federal

27    court in King County, Washington.

     COMPLAINT - 7                                                                    Davis Wright Tremaine LLP
                                                                                         920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                    Seattle, WA 98104-1640
                                                                                    206.622.3150 main · 206.757.7700 fax
               Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 8 of 29




 1            25.    Venue is proper in this Court pursuant to 28 U.S.C. 1391(b) because a

 2    substantial part of the events giving rise to the claims occurred in the Western District of

 3    Washington, and because the BSA explicitly rests venue in this District.

 4            26.    Pursuant to Local Civil Rule 3(d), intra-district assignment to the Seattle

 5    Division is proper because the claims arose in this Division, where (a) Amazon resides, (b)

 6    injuries giving rise to suit occurred, and (c) Defendants directed their unlawful conduct.

 7                                             IV.     FACTS
 8            A.     Amazon’s Significant Efforts to Prevent the Sale of Counterfeit Goods
 9            27.    Since opening its virtual doors on the World Wide Web in July 1995,

10    Amazon.com has worked hard to build and maintain customer trust, striving to be Earth’s most

11    customer-centric company. Each day, millions of consumers use Amazon’s store to purchase a

12    wide range of products across dozens of product categories from Amazon and third-party

13    sellers. Amazon recognizes that customer trust is hard to win and easy to lose, so Amazon

14    invests significant resources and effort into building and preserving its customers’ trust.

15            28.    Amazon works hard to build a reputation as an online store where customers can

16    conveniently select from a wide array of legitimate goods and services at competitive prices.

17    Because a single inauthentic product can turn away a customer for life, Amazon invests

18    significant effort and resources to ensure that when a customer makes a purchase through

19    Amazon’s website or stores—either directly from Amazon or from one of its millions of third-

20    party sellers—they will receive authentic products made by the true manufacturer of those

21    products.

22            29.    A small number of bad actors seek to abuse that trust by creating Amazon Seller

23    Accounts and using Amazon’s store to market, sell, and distribute counterfeit goods. These

24    sellers misuse and infringe the trademarks and other IP of the actual manufacturer or rights

25    owner of those goods to deceive consumers and Amazon. When customers purchase

26    counterfeit goods, it undermines the trust that customers, sellers, and manufacturers place in

27    Amazon, thereby tarnishing Amazon’s brand and causing irreparable reputational harm.

     COMPLAINT - 8                                                                Davis Wright Tremaine LLP
                                                                                     920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                Seattle, WA 98104-1640
                                                                                206.622.3150 main · 206.757.7700 fax
                Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 9 of 29




 1              30.   Amazon prohibits the sale of inauthentic and fraudulent products and is

 2    constantly innovating on behalf of its customers and working with brands, manufacturers,

 3    rights owners, and others to improve the ways it detects and prevents counterfeit products from

 4    being sold to consumers. Amazon employs dedicated teams of software engineers, research

 5    scientists, program managers, and investigators to operate and continually refine its anti-

 6    counterfeiting program. Among other things, when sellers register to sell products through

 7    Amazon’s store, Amazon’s automated systems scan information about the sellers for indicia

 8    that the sellers might be bad actors, and Amazon blocks those sellers during registration before

 9    they can offer any products for sale.

10              31.   Amazon’s systems automatically and continuously scan thousands of variables

11    related to sellers, products, and offers to detect activity that indicates products offered by a

12    seller might be counterfeit. Amazon uses innovative machine learning to improve its

13    automated systems in order to anticipate and outwit bad actors. Numerous Amazon

14    investigators around the world respond quickly to review any listing identified as a potential

15    counterfeit product. These investigators also review notices of claimed infringement from

16    rights owners, who are most familiar with their products. When Amazon determines a product

17    offered for sale is a counterfeit, it removes the product immediately. Amazon regularly

18    suspends or blocks sellers suspected of engaging in illegal behavior or infringing others’ IP

19    rights.

20              32.   Amazon works closely with brands and rights owners to strengthen protections

21    for their brands on Amazon.com. Amazon continues to invest in improvements to its online

22    infringement tools with the goal of reducing invalid complaints by providing a self-guided,

23    educational, and streamlined reporting experience for rights owners. In 2017, Amazon

24    launched the new Amazon Brand Registry that helps owners of IP protect their registered

25    trademarks on Amazon. The Amazon Brand Registry provides access to tools including

26    proprietary text and image search, predictive automation based on reports of suspected IP rights

27    violations, and increased authority over product listings. In addition, Amazon partners with

     COMPLAINT - 9                                                                 Davis Wright Tremaine LLP
                                                                                      920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                 Seattle, WA 98104-1640
                                                                                 206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 10 of 29




 1    rights owners and law enforcement to identify and prosecute sellers suspected of engaging in

 2    illegal activity. Lawsuits like this one, targeted directly at identified bad actors, further

 3    complement Amazon’s efforts to prevent the sale and distribution of counterfeit goods.

 4            B.      Nite Ize and Its Anti-Counterfeiting Efforts
 5            33.     Nite Ize sells its products to customers in a variety of ways, including through

 6    third-party retailers and its website, www.niteize.com.

 7            34.     Nite Ize currently holds trademark registrations for its many different

 8    trademarks. Each of these marks has been duly and properly registered with the United States

 9    Patent and Trademark Office. Relevant to this Complaint, Nite Ize owns a registered trademark

10    for “STEELIE,” Trademark Reg. No. 4,205,539, which encompasses holders and stands

11    specially adapted for use with mobile communication devices and devices for capturing digital

12    images. A true and correct copy of the registration certificate for this trademark and

13    assignment documentation reflecting Nite Ize’s ownership is attached as Exhibit A. Nite Ize

14    also owns a registered trademark for “NITE IZE,” Trademark Reg. No. 2,789,303. A true and

15    correct copy of the registration certificate for this trademark is attached as Exhibit B. The

16    “STEELIE” and “NITE IZE” trademarks are collectively referred to as the “Nite Ize

17    Trademarks.”

18            35.     Nite Ize goes to great lengths to protect consumers from counterfeits of its

19    products, and is committed to leading efforts to combat the presence of counterfeit products.

20    One way Nite Ize achieves this is by working cooperatively with retailers and other entities

21    around the world to combat the sale of counterfeits. Partnering with Amazon in the shared goal

22    to eradicate counterfeiting is a critical part of Nite Ize’s strategy.

23            C.      Defendants Created Amazon Seller Accounts and Agreed Not to Sell
                      Counterfeit Goods
24
              36.     Defendants established and operated the below-listed Amazon seller accounts,
25
      among potentially others, through which they sought to advertise, market, sell, and distribute
26
      counterfeit Nite Ize STEELIE® products:
27

     COMPLAINT - 10                                                                 Davis Wright Tremaine LLP
                                                                                       920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                  Seattle, WA 98104-1640
                                                                                  206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 11 of 29




 1                     a)    “Porterg” which belongs to and is held in the name of Defendant Likens.

 2                     b)    “Mentushop” which belongs to and is held in the name of Defendant

 3            Wong.

 4                     c)    “Lucky Deals JMS” which belongs to and is held in the name of

 5            Defendant Wong.

 6                     d)    “Vincent’s Store 789” which belongs to and is held in the name of

 7            Defendant Wong.

 8                     e)    “ZACKSALES” which belongs to and is held in the name of Defendant

 9            Wong and/or Defendant Grey.

10                     f)    “GGreat Sales” which belongs to and is held in the name of Defendant

11            Wong.

12                     g)    “Samonite” which belongs to and is held in the name of Defendant

13            Wong.

14                     h)    “HALL HALL HALL” which belongs to and is held in the name of

15            Defendants Wong and/or Defendant Hall.

16                     i)    “Discount Always” which belongs to and is held in the name of

17            Defendant Jones.

18                     j)    “SNAKEY” which belongs to and is held in the name of Defendant

19            Jones.

20                     k)    “MAX MAX MAX” which belongs to and is held in the name of

21            Defendant Max.

22                     l)    “Jason Dudley” which belongs to and is held in the name of Defendant

23            Max.

24                     m)    “VERY LEE GOOD” which belongs to and is held in the name of

25            Defendant Lee.

26                     n)    “Storqq” which, on information and belief, belongs to Defendant Wong.

27                     o)    “WW arehouse” which, on information and belief, belongs to Defendant

     COMPLAINT - 11                                                            Davis Wright Tremaine LLP
                                                                                  920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                             Seattle, WA 98104-1640
                                                                             206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 12 of 29




 1            Wong.

 2                     p)     “Jay Warehouse” which, on information and belief, belongs to

 3            Defendant Wong.

 4                     q)     “WILLWHO” which belongs to and is held in the name of Defendant

 5            Wilson.

 6                     r)     “JS Wholesaler” which belongs to and is held in the name of Defendant

 7            Smith.

 8                     s)     “DEROSAN” which belongs to and is held in the name of Defendant

 9            Wilson.

10            37.      To become a third-party seller on Amazon’s website, sellers are required to

11    agree to the BSA, which governs the applicant’s access to and use of Amazon’s services and

12    sets forth Amazon’s rules and restrictions for selling through the website. By entering into the

13    BSA, each seller represents and warrants that it “will comply with all applicable laws in [the]

14    performance of [its] obligations and exercise of [its] rights” under the BSA. A true and correct

15    copy of the current version of Amazon’s BSA is attached as Exhibit C.

16            38.      The BSA incorporates (and sellers therefore agree to be bound by) Amazon’s

17    Anti-Counterfeiting Policy, attached as Exhibit D, which explicitly prohibits the sale of

18    counterfeit goods on the Amazon store:

19            Products offered for sale on Amazon must be authentic. The sale of
              counterfeit products is strictly prohibited. Failure to abide by this policy
20            may result in loss of selling privileges, funds being withheld, and disposal of
              inventory in our possession.
21
      Id. (emphasis in original).
22
              39.      Amazon’s Anti-Counterfeiting Policy further describes Amazon’s commitment
23
      to preventing the sale and distribution of counterfeit goods in the Amazon store, and the
24
      consequences Amazon imposes when it becomes aware of counterfeiting:
25
              It is each seller’s and supplier’s responsibility to source, sell, and fulfill only
26            authentic products. Prohibited products include bootlegs, fakes, or pirated copies
              of products or content; products that have been illegally replicated, reproduced,
27            or manufactured; and products that infringe another party’s intellectual property

     COMPLAINT - 12                                                              Davis Wright Tremaine LLP
                                                                                    920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                               Seattle, WA 98104-1640
                                                                               206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 13 of 29



              rights. If you sell or supply inauthentic products, we may immediately suspend or
 1            terminate your Amazon selling account (and any related accounts) and dispose of
              any inauthentic products in our fulfillment centers at your expense. In addition,
 2            we do not pay sellers until we are confident our customers have received the
              authentic products they ordered. We may withhold payments if we determine that
 3            an Amazon account has been used to sell inauthentic goods, commit fraud, or
              engage in other illegal activity.
 4
              We work with manufacturers, rights holders, content owners, vendors, and sellers
 5            to improve the ways we detect and prevent inauthentic products from reaching
              our customers. As a result, we remove suspect listings based on our own review
 6            of products. We also work with rights holders and law enforcement worldwide to
              take and support legal action against sellers and suppliers that knowingly violate
 7            this policy and harm our customers. In addition to criminal fines and
              imprisonment, sellers and suppliers of inauthentic products may face civil
 8            penalties including the loss of any amounts received from the sale of inauthentic
              products, the damage or harm sustained by the rights holders, statutory and other
 9            damages, and attorney’s fees.
10            We stand behind the products sold on our site with our A-to-z Guarantee, and we
              encourage rights owners who have product authenticity concerns to notify us. We
11            will promptly investigate and take all appropriate actions to protect customers,
              sellers, and rights holders.
12
      Id.
13
              40.    By virtue of becoming a third-party seller on Amazon’s website, and
14
      establishing seller accounts, Defendants explicitly agreed to, and are bound by, the BSA
15
      (among other agreements). Defendants, therefore, agreed not to advertise, market, sell or
16
      distribute counterfeit products.
17
              D.     Defendants’ Sale of Counterfeit Nite Ize STEELIE® Products
18
              41.    Defendants advertised, marketed, sold, and distributed counterfeit products that
19
      Defendants claimed were genuine Nite Ize STEELIE® products. This conduct violated the
20
      BSA. Nite Ize has not licensed or authorized Defendants to manufacture, import, or sell
21
      products bearing the Nite Ize brand, or to use or exploit the IP rights of Nite Ize in
22
      manufacturing, marketing, selling, or distributing products bearing the Nite Ize brand.
23
                     1.      Customs and Border Protection Notice and Shipito Account
24                           Information
25            42.    On or about October 19, 2018, Nite Ize received two notices (Nos. 2019-2904-

26    000026-01 and 2019-2904-000028-01) from United States Customs and Border Protection

27    (“CBP”) that the agency had seized an imported shipment at its port of entry in Portland,

     COMPLAINT - 13                                                               Davis Wright Tremaine LLP
                                                                                     920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                Seattle, WA 98104-1640
                                                                                206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 14 of 29




 1    Oregon on September 29, 2018. The shipments contained 300 counterfeit STEELIE® car

 2    mount kits. The shipment originated from Defendant Shenzhen and Hu Nan in Hong Kong,

 3    with a Tualatin, Oregon destination address. Jack Nebressa was listed as the importer.

 4            43.      After researching the Tualatin, Oregon address, Nite Ize determined that it is the

 5    address of Shipito, LLC’s Oregon warehouse. According to its website, Shipito, LLC offers

 6    package and mail forwarding services to over 220 countries.

 7            44.      Nite Ize issued a subpoena to Shipito, LLC to obtain the account information for

 8    the account holder with the name “Jack Nebressa.” Shipito’s records indicate that at least one

 9    individual associated with the “Jack Nebressa” account is Defendant Wong, who has an address

10    in Ontario, Canada.

11            45.      Shipito’s records also indicate that the “Jack Nebressa” account holder shipped

12    numerous counterfeit STEELIE® car mount kits to various entities across the United States.

13    On information and belief, Defendants shipped the infringing phone holders with the

14    knowledge and intent that they would be sold to consumers as authentic Nite Ize STEELIE®

15    phone holders.

16                     2.     Test Purchases from Defendant Wong
17            46.      On or around August 1, 2018, Nite Ize conducted a test purchase from

18    Defendant Wong’s “MentuShop” seller account for what Defendants advertised was one “Nite

19    Ize Original Steelie Vent Mount Kit.” Defendants used Nite Ize’s brand to advertise the

20    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

21    brand, and Defendants used the same Amazon Standard Identification Number (“ASIN”) as

22    used for the sale of authentic Nite Ize products. Nite Ize reviewed the product Defendants

23    shipped and determined that the product sold by Defendants is counterfeit.

24            47.      On or around August 1, 2018, Nite Ize conducted a test purchase from

25    Defendant Wong’s “Lucky Deals JMS” seller account for what Defendants advertised was one

26    “Nite Ize Original Steelie Vent Mount Kit.” Defendants used Nite Ize’s brand to advertise the

27    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

     COMPLAINT - 14                                                               Davis Wright Tremaine LLP
                                                                                     920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                Seattle, WA 98104-1640
                                                                                206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 15 of 29




 1    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

 2    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

 3    Defendants is counterfeit.

 4            48.    On or around September 4, 2018, Nite Ize conducted a test purchase from

 5    Defendant Wong’s “Vincent’s Store 789” seller account for what Defendants advertised was

 6    one “Nite Ize Original Steelie Dash Mount Kit.” Defendants used Nite Ize’s brand to advertise

 7    the product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

 8    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

 9    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

10    Defendants is counterfeit.

11            49.    On or around September 4, 2018, Nite Ize conducted a test purchase from

12    Defendant Wong and/or Grey’s “ZACKSALES” seller account for what Defendants advertised

13    was one “Nite Ize Original Steelie Dash Mount Kit.” Defendants used Nite Ize’s brand to

14    advertise the product, the actual product bore the Nite Ize Trademarks and other indications of

15    Nite Ize’s brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize

16    products. Nite Ize reviewed the product Defendants shipped and determined that the product

17    sold by Defendants is counterfeit.

18            50.    On or around September 5, 2018, Nite Ize conducted a test purchase from

19    Defendant Wong’s “Samonite” seller account for what Defendants advertised was one “Nite

20    Ize Original Steelie Dash Mount Kit.” Defendants used Nite Ize’s brand to advertise the

21    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

22    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

23    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

24    Defendants is counterfeit.

25            51.    On or around September 10, 2018, Nite Ize conducted a test purchase from

26    Defendant Wong’s “GGreat Sales” seller account for what Defendants advertised was one

27    “Nite Ize Original Steelie Vent Mount Kit.” Defendants used Nite Ize’s brand to advertise the

     COMPLAINT - 15                                                             Davis Wright Tremaine LLP
                                                                                   920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                              Seattle, WA 98104-1640
                                                                              206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 16 of 29




 1    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

 2    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

 3    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

 4    Defendants is counterfeit.

 5            52.    On or around September 10, 2018, Nite Ize conducted a test purchase from

 6    Defendant Wong and or Grey’s “ZACKSALES” seller account for what Defendants advertised

 7    was one “Nite Ize Original Steelie Vent Mount Kit.” Defendants used Nite Ize’s brand to

 8    advertise the product, the actual product bore the Nite Ize Trademarks and other indications of

 9    Nite Ize’s brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize

10    products. Nite Ize reviewed the product Defendants shipped and determined that the product

11    sold by Defendants is counterfeit.

12            53.    On or around September 19, 2018, Nite Ize conducted a test purchase from

13    Defendant Wong’s “Vincent’s Store 789” seller account for what Defendants advertised was

14    one “Nite Ize Original Steelie Vent Mount Kit.” Defendants used Nite Ize’s brand to advertise

15    the product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

16    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

17    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

18    Defendants is counterfeit.

19            54.    On or around September 25, 2018, Nite Ize conducted a test purchase from

20    Defendant Wong’s “Samonite” seller account for what Defendants advertised was one “Nite

21    Ize Original Steelie Vent Mount Kit.” Defendants used Nite Ize’s brand to advertise the

22    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

23    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

24    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

25    Defendants is counterfeit.

26            55.    On or around January 23, 2019, Nite Ize conducted a test purchase from

27    Defendant Wong and/or Hall’s “HALL HALL HALL” seller account for what Defendants

     COMPLAINT - 16                                                             Davis Wright Tremaine LLP
                                                                                   920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                              Seattle, WA 98104-1640
                                                                              206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 17 of 29




 1    advertised was one “Nite Ize Original Steelie Dash Mount Kit.” Defendants used Nite Ize’s

 2    brand to advertise the product, the actual product bore the Nite Ize Trademarks and other

 3    indications of Nite Ize’s brand, and Defendants used the same ASIN as used for the sale of

 4    authentic Nite Ize products. Nite Ize reviewed the product Defendants shipped and determined

 5    that the product sold by Defendants is counterfeit.

 6                   3.      Test Purchases from Defendant Jones
 7            56.    On or around August 13, 2018, Nite Ize conducted a test purchase from

 8    Defendant Jones’s “Discount Always” seller account for what Defendants advertised was one

 9    “Nite Ize Original Steelie Magnetic Phone Socket.” Defendants used Nite Ize’s brand to

10    advertise the product, the actual product bore the Nite Ize Trademarks and other indications of

11    Nite Ize’s brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize

12    products. Nite Ize reviewed the product Defendants shipped and determined that the product

13    sold by Defendants is counterfeit.

14            57.    On or around September 5, 2018, Nite Ize conducted a test purchase from

15    Defendant Jones’s “Discount Always” seller account for what Defendants advertised was one

16    “Nite Ize Original Steelie Dash Mount Kit.” Defendants used Nite Ize’s brand to advertise the

17    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

18    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

19    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

20    Defendants is counterfeit.

21            58.    On or around September 5, 2018, Nite Ize conducted a test purchase from

22    Defendant Jones’s “Discount Always” seller account for what Defendants advertised was one

23    “Nite Ize Original Steelie Dash Ball.” Defendants used Nite Ize’s brand to advertise the

24    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

25    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

26    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

27    Defendants is counterfeit.

     COMPLAINT - 17                                                             Davis Wright Tremaine LLP
                                                                                   920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                              Seattle, WA 98104-1640
                                                                              206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 18 of 29




 1            59.    On or around September 10, 2018, Nite Ize conducted a test purchase from

 2    Defendant Jones’s “SNAKEY” seller account for what Defendants advertised was one “Nite

 3    Ize Original Steelie Dash Mount Kit.” Defendants used Nite Ize’s brand to advertise the

 4    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

 5    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

 6    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

 7    Defendants is counterfeit.

 8                   4.      Other Test Purchases.
 9            60.    On or around July 9, 2018, Nite Ize conducted a test purchase from Defendant

10    Wong’s “Jay Warehouse” seller account (which is now known as “Storqq”) for what

11    Defendants advertised was one “Nite Ize Original Steelie Vent Mount Kit.” Defendants used

12    Nite Ize’s brand to advertise the product, the actual product bore the Nite Ize Trademarks and

13    other indications of Nite Ize’s brand, and Defendants used the same ASIN as used for the sale

14    of authentic Nite Ize products. Nite Ize reviewed the product Defendants shipped and

15    determined that the product sold by Defendants is counterfeit.

16            61.    On or around July 9, 2018, Nite Ize conducted a test purchase from Defendant

17    Likens’s “porterg” seller account for what Defendants advertised was one “Nite Ize Original

18    Steelie Vent Mount Kit.” Defendants used Nite Ize’s brand to advertise the product, the actual

19    product bore the Nite Ize Trademarks and other indications of Nite Ize’s brand, and Defendants

20    used the same ASIN as used for the sale of authentic Nite Ize products. Nite Ize reviewed the

21    product Defendants shipped and determined that the product sold by Defendants is counterfeit.

22            62.    On or around August 3 2018, Nite Ize conducted a test purchase from Defendant

23    Wilson’s “WILLWHO” seller account for what Defendants advertised was one “Nite Ize

24    Original Steelie Vent Mount Kit.” Defendants used Nite Ize’s brand to advertise the product,

25    the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s brand, and

26    Defendants used the same ASIN as used for the sale of authentic Nite Ize products. Nite Ize

27    reviewed the product Defendants shipped and determined that the product sold by Defendants

     COMPLAINT - 18                                                            Davis Wright Tremaine LLP
                                                                                  920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                             Seattle, WA 98104-1640
                                                                             206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 19 of 29




 1    is counterfeit.

 2            63.       On or around August 7, 2018, Nite Ize conducted a test purchase from

 3    Defendant Likens’s “porterg” seller account for what Defendants advertised was one “Nite Ize

 4    Original Steelie Dash Mount Kit.” Defendants used Nite Ize’s brand to advertise the product,

 5    the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s brand, and

 6    Defendants used the same ASIN as used for the sale of authentic Nite Ize products. Nite Ize

 7    reviewed the product Defendants shipped and determined that the product sold by Defendants

 8    is counterfeit.

 9            64.       On or around August 13, 2018, Nite Ize conducted a test purchase from

10    Defendant Smith’s “JS Wholesaler” seller account for what Defendants advertised was one

11    “Nite Ize Original Steelie Dash Mount Kit.” Defendants used Nite Ize’s brand to advertise the

12    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

13    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

14    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

15    Defendants is counterfeit.

16            65.       On or around August 13, 2018, Nite Ize conducted a test purchase from

17    Defendant Wilson’s “DEROSAN” seller account for what Defendants advertised was one “Nite

18    Ize Original Steelie Dash Mount Kit.” Defendants used Nite Ize’s brand to advertise the

19    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

20    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

21    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

22    Defendants is counterfeit.

23            66.       On or around November 5, 2018, Nite Ize conducted a test purchase from

24    Defendant Wong’s “WW arehouse” seller account (which is now known as “Storqq”) for what

25    Defendants advertised was one “Nite Ize Original Steelie Dash Mount Kit.” Defendants used

26    Nite Ize’s brand to advertise the product, the actual product bore the Nite Ize Trademarks and

27    other indications of Nite Ize’s brand, and Defendants used the same ASIN as used for the sale

     COMPLAINT - 19                                                             Davis Wright Tremaine LLP
                                                                                   920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                              Seattle, WA 98104-1640
                                                                              206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 20 of 29




 1    of authentic Nite Ize products. Nite Ize reviewed the product Defendants shipped and

 2    determined that the product sold by Defendants is counterfeit.

 3            67.    On or around December 12, 2018, Nite Ize conducted a test purchase from

 4    Defendant Max’s “MAX MAX MAX” seller account for what Defendants advertised was one

 5    “Nite Ize Original Steelie Dash Mount Kit.” Defendants used Nite Ize’s brand to advertise the

 6    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

 7    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

 8    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

 9    Defendants is counterfeit.

10            68.    On or around January 3, 2019, Nite Ize conducted a test purchase from

11    Defendant Max’s “Jason Dudley” seller account for what Defendants advertised was one “Nite

12    Ize Original Steelie Vent Mount Kit.” Defendants used Nite Ize’s brand to advertise the

13    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

14    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

15    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

16    Defendants was counterfeit.

17            69.    On or around January 29, 2019, Nite Ize conducted a test purchase from

18    Defendant Lee’s “VERY LEE GOOD” seller account for what Defendants advertised was one

19    “Nite Ize Original Steelie Vent Mount Kit.” Defendants used Nite Ize’s brand to advertise the

20    product, the actual product bore the Nite Ize Trademarks and other indications of Nite Ize’s

21    brand, and Defendants used the same ASIN as used for the sale of authentic Nite Ize products.

22    Nite Ize reviewed the product Defendants shipped and determined that the product sold by

23    Defendants is counterfeit.

24            E.     Amazon and Nite Ize Shut Down Defendants’ Accounts
25            70.    Despite repeated notice and counterfeit warnings from Amazon, Defendants

26    continued to sell counterfeit Nite Ize products.

27            71.    In selling counterfeit Nite Ize products, Defendants falsely represented to

     COMPLAINT - 20                                                             Davis Wright Tremaine LLP
                                                                                   920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                              Seattle, WA 98104-1640
                                                                              206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 21 of 29




 1    Amazon and its customers that the products Defendants sold were genuine products made by

 2    Nite Ize. Defendants also knowingly and willfully used Nite Ize’s IP in connection with the

 3    advertisement, distribution, offering for sale, and sale of counterfeit Nite Ize products into the

 4    United States and Washington over the Internet.

 5            72.      At all times, Defendants knew that the BSA prohibited the use of Amazon’s

 6    store to distribute counterfeit goods or to violate any applicable laws. Defendants knowingly

 7    and intentionally breached the BSA by marketing, selling, and distributing counterfeit goods on

 8    Amazon’s store.

 9            73.      Defendants have deceived Amazon’s customers and Amazon, infringed and

10    misused the IP rights of Nite Ize, and harmed the integrity of Amazon’s store and tarnished

11    Amazon’s and Nite Ize’s brands.

12            74.      Amazon, after receiving notice from Nite Ize, confirmed Defendants’ unlawful

13    sale of counterfeit Nite Ize products and promptly blocked Defendants’ seller accounts. In

14    doing so, Amazon exercised its rights under the BSA to protect its customers, Nite Ize, and the

15    integrity of its store.

16            75.      In Amazon’s experience, however, it is not uncommon for sellers of counterfeit

17    products blocked by Amazon to attempt to create new seller identities to obtain access to the

18    Amazon store. The fact that Defendants created multiple Amazon seller accounts, in violation

19    of Amazon’s BSA, to facilitate their counterfeit sales of Nite Ize products demonstrates they

20    are likely to continue to do so. Therefore, unless Defendants and all of their affiliated and/or

21    successor entities are immediately and permanently enjoined from using Amazon’s store to sell

22    goods, the harm Defendants caused to Amazon, legitimate third-party manufacturers/sellers

23    like Nite Ize, and consumers is likely to continue.

24                                       V.     CAUSES OF ACTION
25                                     FIRST CAUSE OF ACTION
26                                  (by Nite Ize against all Defendants)
                                Trademark Infringement – 15 U.S.C. § 1114
27            76.      Plaintiffs incorporate by reference the allegations of each and all of the
     COMPLAINT - 21                                                                Davis Wright Tremaine LLP
                                                                                      920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                 Seattle, WA 98104-1640
                                                                                 206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 22 of 29




 1    preceding paragraphs as though set forth herein.

 2            77.     Defendants’ activities constitute infringement of the Nite Ize Trademarks as

 3    described in the paragraphs above.

 4            78.     Nite Ize advertises, markets, and distributes its products using the Nite Ize

 5    Trademarks described above and uses these trademarks to distinguish its products from the

 6    products and related items of others in the same or related fields.

 7            79.     Because of Nite Ize’s long, continuous, and exclusive use of the Nite Ize

 8    Trademarks identified in this complaint, they have come to mean, and are understood by

 9    customers and the public to signify, products from Nite Ize.

10            80.     Defendants unlawfully advertised and sold products bearing counterfeit

11    trademarks of Nite Ize. The infringing materials that Defendants have and continue to

12    advertise, market, install, offer, and distribute are likely to cause confusion, mistake, or

13    deception as to their source, origin, or authenticity.

14            81.     Further, Defendants’ counterfeiting activities are likely to lead the public to

15    conclude, incorrectly, that the infringing materials that Defendants are advertising, marketing,

16    offering, and/or distributing originate with or are authorized by Nite Ize, thereby harming Nite

17    Ize, its licensees, and the public.

18            82.     At a minimum, Defendants acted with willful blindness to, or in reckless

19    disregard of, their authority to use the Nite Ize Trademarks and the confusion that the use of

20    those trademarks would have on consumers as to the source, sponsorship, affiliation or

21    approval by Nite Ize of the products using those trademarks.

22            83.     As a result of Defendants’ wrongful conduct, Nite Ize is entitled to recover its

23    actual damages, Defendants’ profits attributable to the infringement, and treble damages and

24    attorney fees pursuant to 15 U.S.C. § 1117 (a) and (b). The amount of money due from

25    Defendants to Nite Ize is unknown to Nite Ize and cannot be ascertained without a detailed

26    accounting by Defendants of the precise number of units of counterfeit, infringing material

27    advertised, marketed, offered or distributed by Defendants. Alternatively, Nite Ize is entitled to

     COMPLAINT - 22                                                                Davis Wright Tremaine LLP
                                                                                      920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                 Seattle, WA 98104-1640
                                                                                 206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 23 of 29




 1    statutory damages under 15 U.S.C. § 1117(c).

 2            84.      Nite Ize is further entitled to injunctive relief, including an order impounding all

 3    infringing materials. Nite Ize has no adequate remedy at law for Defendants’ wrongful conduct

 4    because, among other things: (a) the Nite Ize Trademarks are unique and valuable property that

 5    have no readily determinable market value; (b) Defendants’ infringement constitutes harm to

 6    Nite Ize’s reputation and goodwill such that Nite Ize could not be made whole by any monetary

 7    award; (c) if Defendants’ wrongful conduct is allowed to continue, the public is likely to

 8    become further confused, mistaken, or deceived as to the source, origin or authenticity of the

 9    infringing materials; and (d) Defendants’ wrongful conduct, and the resulting harm to Nite Ize,

10    is continuing.

11                                 SECOND CAUSE OF ACTION
12                               (by Nite Ize against all Defendants)
      False Designation of Origin, False Advertising and Unfair Competition – 15 U.S.C. § 1125
13                                              et seq.

14            85.      Plaintiffs incorporate by reference the allegations of each and all of the

15    preceding paragraphs as though set forth herein.

16            86.      Nite Ize advertises, markets, and distributes its products using the trademarks

17    described above and uses these trademarks to distinguish its products from the products and

18    related items of others in the same or related fields.

19            87.      Because of Nite Ize’s long, continuous, and exclusive use of the Nite Ize

20    Trademarks, they have come to mean, and are understood by customers, end users, and the

21    public to signify, products from Nite Ize.

22            88.      Defendants’ wrongful conduct includes the infringement of the Nite Ize

23    Trademarks, and the unauthorized use and misuse of Nite Ize’s name, and/or imitation designs

24    (specifically displays, logos, icons, graphic designs, and/or packaging virtually

25    indistinguishable from the Nite Ize designs) in connection with Defendants’ commercial

26    advertising or promotion, including without limitation, in connection with the offering for sale

27    and sale of counterfeit Nite Ize products in interstate commerce.

     COMPLAINT - 23                                                                 Davis Wright Tremaine LLP
                                                                                       920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                  Seattle, WA 98104-1640
                                                                                  206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 24 of 29




 1            89.    In advertising and selling products bearing counterfeit trademarks of Nite Ize,

 2    Defendants have used, and continue to use, the trademarks referenced above to compete

 3    unfairly with Nite Ize and to deceive customers. Upon information and belief, Defendants’

 4    wrongful conduct misleads and confuses their customers and the public as to the origin and

 5    authenticity of the goods and services advertised, marketed, offered or distributed in connection

 6    with Nite Ize’s trademarks, name, and imitation visual designs, and wrongfully trades upon

 7    Nite Ize’s goodwill and business reputation. Defendants’ conduct constitutes (a) false

 8    designation of origin, (b) false or misleading description, and (c) false or misleading

 9    representation that products originate from or are authorized by Nite Ize, all in violation of 15

10    U.S.C. § 1125(a).

11            90.    Defendants’ acts constitute willful false statements in connection with goods

12    and/or services distributed in interstate commerce, in violation of section 43(a) of the Lanham

13    Act, 15 U.S.C. § 1125(a).

14            91.    Defendants are subject to liability for the wrongful conduct alleged herein, both

15    directly and under various principles of secondary liability, including without limitation,

16    respondeat superior, vicarious liability, and/or contributory infringement.

17            92.    Nite Ize is entitled to an injunction against Defendants, their officers, agents,

18    representatives, servants, employees, successors and assigns, and all other persons in active

19    concert or participation with them, as set forth in the Prayer for Relief below. Defendants’ acts

20    have caused irreparable injury to Nite Ize. The injury to Nite Ize is and continues to be

21    ongoing and irreparable. An award of monetary damages cannot fully compensate Nite Ize for

22    its injuries, and Nite Ize lacks an adequate remedy at law.

23            93.    Nite Ize is further entitled to recover Defendants’ profits, Nite Ize’s damages for

24    its losses, and Nite Ize’s costs to investigate and remediate Defendants’ conduct and bring this

25    action, including its attorney’s fees, in an amount to be determined. The amount of money due

26    from Defendants to Nite Ize is unknown to Nite Ize and cannot be ascertained without a

27    detailed accounting by Defendants of the precise number of units of infringing material

     COMPLAINT - 24                                                               Davis Wright Tremaine LLP
                                                                                     920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                Seattle, WA 98104-1640
                                                                                206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 25 of 29




 1    advertised, marketed, offered or distributed by Defendants. Nite Ize is also entitled to the

 2    trebling of any damages award as allowed by law.

 3                                     THIRD CAUSE OF ACTION
 4                                  (by Amazon against all Defendants)
                                           Breach of Contract
 5            94.     Plaintiffs incorporate by reference the allegations of each and all of the
 6    preceding paragraphs as though set forth herein.
 7            95.     Defendants established Amazon Seller Accounts and entered into Amazon’s
 8    BSA, a binding and enforceable contract between Defendants and Amazon. Defendants also
 9    contractually agreed to be bound by the Conditions of Use of the Amazon website.
10            96.     Defendants’ advertising, sale, and distribution of counterfeit Nite Ize products
11    materially breached the BSA and the Conditions of Use of the Amazon website in numerous
12    ways. Among other things, Defendants’ conduct constitutes infringement and misuse of the IP
13    rights of Nite Ize.
14            97.     Defendants are subject to liability for the wrongful conduct alleged herein (i.e.,
15    the misuse of Nite Ize’s IP) both directly and under various principles of secondary liability,
16    including without limitation, respondeat superior, vicarious liability, and/or contributory
17    infringement.
18            98.     As described above, Defendants’ acts have caused irreparable injury to Amazon,
19    and that injury is ongoing. An award of monetary damages cannot fully compensate Amazon
20    for its injuries, and Amazon lacks an adequate remedy at law.
21            99.     Amazon is entitled to an injunction against Defendants, their officers, agents,
22    representatives, servants, employees, successors and assigns, and all other persons in active
23    concert or participation with them, as set forth in the Prayer for Relief below in order to stop
24    Defendants’ misuse of IP.
25

26

27

     COMPLAINT - 25                                                               Davis Wright Tremaine LLP
                                                                                     920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                Seattle, WA 98104-1640
                                                                                206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 26 of 29




 1                                   FOURTH CAUSE OF ACTION
 2                                 (by Amazon against all Defendants)
                              False Advertising – 15 U.S.C. § 1125(a) et seq.
 3            100.   Plaintiffs incorporate by reference the allegations of each and all of the
 4    preceding paragraphs as though set forth herein.
 5            101.   Defendants infringed and misused the IP rights of Nite Ize in marketing, selling,
 6    and distributing products through the Amazon store, thereby making false and misleading
 7    statements of fact about the origin, sponsorship or approval of the goods they sold.
 8            102.   These statements deceived or had the capacity to deceive Amazon as to whether
 9    Defendants were selling counterfeit goods in violation of BSA. Defendants’ deceptive acts
10    were material to Amazon’s decision to allow Defendants to sell their goods on the Amazon
11    store because Amazon would not have permitted them to sell their goods but for the deceptive
12    acts.
13            103.   Defendants’ acts constitute willful false statements in connection with goods
14    and/or services distributed in interstate commerce, in violation of section 43(a) of the Lanham
15    Act, 15 U.S.C. § 1125(a).
16            104.   Defendants are subject to liability for the wrongful conduct alleged herein, both
17    directly and under various principles of secondary liability, including without limitation,
18    respondeat superior, vicarious liability, and/or contributory infringement.
19            105.   Defendants’ acts have caused irreparable injury to Amazon. The injury to
20    Amazon is and continues to be ongoing and irreparable. An award of monetary damages alone
21    cannot fully compensate Amazon for its injuries, and Amazon lacks an adequate remedy at law.
22            106.   Amazon is entitled to an injunction against Defendants, their officers, agents,
23    representatives, servants, employees, successors and assigns, and all other persons in active
24    concert or participation with them, as set forth in the Prayer for Relief below, along with its
25    attorneys’ fees and costs in bringing this lawsuit.
26

27

     COMPLAINT - 26                                                               Davis Wright Tremaine LLP
                                                                                     920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                                Seattle, WA 98104-1640
                                                                                206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 27 of 29



                                    FIFTH CAUSE OF ACTION
 1                           (by Amazon & Nite Ize against all Defendants)
 2                                 Civil Conspiracy (Common Law)
              107.   Plaintiffs incorporate by reference the allegations of each and all of the
 3
      preceding paragraphs as though set forth herein.
 4
              108.   Each and all of the Defendants combined together to accomplish the unlawful
 5
      purpose of advertising, selling, and distributing counterfeit Nite Ize products on the Amazon
 6
      store. Each and all of the Defendants have further used unlawful means to accomplish this
 7
      purpose, including without limitation, the infringement and misuse of the IP rights of Nite Ize.
 8
              109.   Each and all of the Defendants joined together, conspired, and entered into an
 9
      agreement to accomplish the aims of their unlawful conspiracy.
10
              110.   Nite Ize and Amazon are entitled to an injunction against Defendants, their
11
      officers, agents, representatives, servants, employees, successors and assigns, and all other
12
      persons in active concert or participation with them, as set forth in the Prayer for Relief below
13
      to, among other things, stop Defendants’ misuse of IP. Defendants’ acts have caused
14
      irreparable injury to Nite Ize. The injury to Nite Ize is and continues to be ongoing and
15
      irreparable. An award of monetary damages cannot fully compensate Nite Ize for its injuries,
16
      and Nite Ize lacks an adequate remedy at law.
17
              111.   Nite Ize is further entitled to recover Defendants’ profits, Nite Ize’s damages for
18
      its losses, and Nite Ize’s costs to investigate and remediate Defendants’ conduct and bring this
19
      action, including its attorney’s fees, in an amount to be determined. The amount of money due
20
      from Defendants to Nite Ize is unknown to Nite Ize and cannot be ascertained without a
21
      detailed accounting by Defendants of the precise number of units of infringing material
22
      advertised, marketed, offered or distributed by Defendants. Nite Ize is also entitled to the
23
      trebling of any damages award as allowed by law.
24

25                                    VI.    PRAYER FOR RELIEF
              WHEREFORE, Plaintiffs respectfully pray for the following relief:
26

27

     COMPLAINT - 27                                                              Davis Wright Tremaine LLP
                                                                                    920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                               Seattle, WA 98104-1640
                                                                               206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 28 of 29




 1            A.     That the Court issue an order permanently enjoining Defendants, their officers,

 2    agents, representatives, servants, employees, successors and assigns, and all others in active

 3    concert or participation with them, from:

 4                   (i)     selling products on any of Amazon’s websites or in any of Amazon’s

 5                           stores;

 6                   (ii)    opening any Amazon Seller Accounts;

 7                   (iii)   manufacturing, distributing, offering to sell, or selling any product using

 8                           Nite Ize’s brand or trademarks, or which otherwise infringes Nite Ize’s

 9                           intellectual property;

10                   (iv)    assisting, aiding or abetting any other person or business entity in

11                           engaged or performing any of the activities referred to in subparagraphs

12                           (i) through (iii) above;

13            B.     That the Court enter judgment in Amazon’s and Nite Ize’s favor on all claims

14    brought by them;

15            C.     That the Court enter an order pursuant to 15 U.S.C. § 1116 impounding all

16    counterfeit and infringing products bearing the Nite Ize Trademarks or that otherwise infringe

17    the Nite Ize IP, and any related item, including business records, that are in Defendants’

18    possession or under their control;

19            D.     That the Court enter an order requiring Defendants to provide Nite Ize a full and

20    complete accounting of all amounts due and owing to Nite Ize as a result of Defendants’

21    unlawful activities;

22            E.     That Defendants be required to pay all general, special, actual, and statutory

23    damages which Nite Ize has sustained, or will sustain, as a consequence of Defendants’

24    unlawful acts, and that such damages be enhanced, doubled, or trebled as provided for by 15

25    U.S.C. § 1117(b), or otherwise allowed by law;

26

27

     COMPLAINT - 28                                                              Davis Wright Tremaine LLP
                                                                                    920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                               Seattle, WA 98104-1640
                                                                               206.622.3150 main · 206.757.7700 fax
              Case 2:19-cv-00990-JLR Document 1 Filed 06/26/19 Page 29 of 29




 1            F.     That Defendants be required to pay the costs of this action and the reasonable

 2    attorneys’ fees incurred in prosecuting this action, as provided for by 15 U.S.C. § 1117 or

 3    otherwise by law; and

 4            G.     That the Court grant Amazon and Nite Ize such other, further, and additional

 5    relief as the Court deems just and equitable.

 6            DATED this 26th day of June, 2019.

 7                                                     DAVIS WRIGHT TREMAINE LLP
                                                       Attorneys for Plaintiffs
 8
 9                                                     By s/ Bonnie E. MacNaughton
                                                          Bonnie E. MacNaughton, WSBA #36110
10
                                                           s/ Lauren Rainwater
11                                                         Lauren Rainwater, WSBA #43625
12                                                         s/ James Harlan Corning
                                                           James Harlan Corning, WSBA #45177
13
                                                           920 Fifth Avenue, Suite 3300
14                                                         Seattle, WA 98104-1604
                                                           Tel: (206) 622-3150
15                                                         Fax: (206) 757-7700
                                                           Email: bonniemacnaughton@dwt.com
16                                                                   laurenrainwater@dwt.com
                                                                     jamescorning@dwt.com
17

18
19

20

21

22

23

24

25

26

27

     COMPLAINT - 29                                                             Davis Wright Tremaine LLP
                                                                                   920 Fifth Avenue, Suite 3300
      4847-1698-8824v.6 0051461-002402                                              Seattle, WA 98104-1640
                                                                              206.622.3150 main · 206.757.7700 fax
